






Opinion issued May 30, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00156-CV

____________


SANDALWOOD APARTMENTS, INC.,  Appellant


V.


FULCRUM INSURANCE COMPANY,  Appellee






On Appeal from the County Civil Court at Law No. 1

Harris County, Texas

Trial Court Cause No. 735,221






O P I N I O N

	The parties have filed a joint motion to dismiss this appeal. No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App.
P. 42.1(a).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.


PER CURIAM

Panel consists of Justices Hedges, Jennings, and Keyes.

Do not publish. Tex. R. App. P. 47.


